          Case:12-07985-BKT7 Doc#:133 Filed:02/23/17 Entered:02/24/17 02:20:44                                             Desc:
                            Imaged Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 12-07985-BKT
ADALBERTO PEREZ ORTIZ                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: munizgr                      Page 1 of 1                          Date Rcvd: Feb 21, 2017
                                      Form ID: dt7a                      Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 23, 2017.
db             +ADALBERTO PEREZ ORTIZ,   BO GUAVATE,   SEC LA GRUA 21111,   CAYEY, PR 00736-9402

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 23, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 21, 2017 at the address(es) listed below:
              ALBERT TAMAREZ VASQUEZ     atamarez@tamarezcpa.com, atamarez@ecf.courtdrive.com
              MARIA S JIMENEZ MELENDEZ    on behalf of Creditor    RG PREMIER BANK OF PR now SCOTIABANK OF PR
               attymjm@gmail.com, quiebra@prw.net
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              NOEMI LANDRAU    on behalf of Trustee NOEMI LANDRAU RIVERA nlandrau@landraulaw.com,
               assistant@landraulaw.com
              NOREEN WISCOVITCH RENTAS     courts@nwr-law.com, nwiscovitch@ecf.epiqsystems.com
              NOREEN WISCOVITCH RENTAS     on behalf of Trustee NOREEN WISCOVITCH RENTAS courts@nwr-law.com,
               nwiscovitch@ecf.epiqsystems.com
              RAFAEL A GONZALEZ VALIENTE    on behalf of Trustee NOEMI LANDRAU RIVERA rgv@g-glawpr.com,
               zi@g-glawpr.com
              REBECA CAQUIAS MEJIAS     on behalf of Creditor    Bautista Cayman Asset Company
               rcaquias@fgrlaw.com,
               rcaquias@ecf.courtdrive.com;acordero@fgrlaw.com;lferran@fgrlaw.com;rcabrera@fgrlaw.com
              ROSAMAR GARCIA FONTAN     on behalf of Creditor    DORAL BANK rgarcia@fgrlaw.com,
               rgarcia@ecf.courtdrive.com;acordero@fgrlaw.com;lferran@fgrlaw.com;rcabrera@fgrlaw.com;cmoscoso@fg
               rlaw.com
              ROSANA MORENO RODRIGUEZ     on behalf of Debtor ADALBERTO PEREZ ORTIZ
               rmoreno@morenosolterolaw.com,
               asoltero@morenosolterolaw.com;ccabrera@morenosolterolaw.com;bmarrero@morenosolterolaw.com;info@mo
               renoandmorenolaw.com;G12144@notify.cincompass.com
              TANIA M VAZQUEZ MALDONADO    on behalf of Creditor    POPULAR AUTO tvazquez@bppr.com
                                                                                               TOTAL: 11
     Case:12-07985-BKT7 Doc#:133 Filed:02/23/17 Entered:02/24/17 02:20:44                                    Desc:
                       Imaged Certificate of Notice Page 2 of 2
                               IN THE UNITED STATES BANKRUPTCY COURT
                                           District of Puerto Rico



IN RE:

ADALBERTO PEREZ ORTIZ                                         Case No. 12−07985 BKT
aka ADALBERTO PEREZ, dba PEREZ
CONTRACTOR, dba PEREZ CONTRACTOR &
WOOD DESIGNER, dba EBANISTERIA                                Chapter 7
ADALBERTO, dba WOOD DESIGNERS

xxx−xx−4268
66−0323555                                                    FILED & ENTERED ON 2/21/17


                         Debtor(s)



                         ORDER DISCHARGING TRUSTEE AND CLOSING THE CASE

NOREEN WISCOVITCH RENTAS the appointed trustee in this case, has filed a final report and final account and
certification that the estate has been fully administered. The United States Trustee, has reviewed and certified that the
estate has been fully administered.

WHEREFORE, pursuant to 11 U.S.C. §350(a) and Fed. R. Bankr. P. 5009(a), the Trustee is discharged, his bond for
this case is cancelled, and this case is closed.

In San Juan, Puerto Rico, this Tuesday, February 21, 2017 .
